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                           UNITED STATES DISTRICT COURT
                                       for the
                                DISTRICT OF KANSAS


 Steven Fish, et al.,                            )
                                                 )
                        Plaintiffs,              )
                                                 )
                                                 )        Case No. 16-2105-JAR
               v.
                                                 )
 Kris Kobach, in his official                    )
 capacity as Secretary of State                  )
 for the State of Kansas,                        )
                      Defendant.                 )

                                      NOTICE OF APPEAL

        Notice is hereby given that Kansas Secretary of State Kobach, defendant in the above

 named case, hereby appeals to the United States Court of Appeals for the Tenth Circuit from

 the order (Doc. 520) granting Plaintiffs’ Motion to Enforce Court Orders and for Order to Show

 Cause Why Defendant Should Not Be Held in Contempt (Doc. 423), entered in this action on

 April 18, 2018, after the nonjury trial was completed.

Date: May 2, 2018                                    Respectfully submitted,

                                                     /s/ Sue Becker
                                                     Sue Becker, Kansas Bar No. 27806
                                                     Garrett Roe, Kansas Bar No. 26867
                                                     KANSAS SECRETARY OF STATE’S OFFICE
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                                                     Topeka, KS 66612
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                                                     Attorneys for Defendant Secretary of State

                                  CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 2nd day of May, 2018, I electronically filed

the above and foregoing document which automatically sends notice and a copy of the filing to
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all counsel of record.


                                     /s/ Sue Becker
                                     Sue Becker
                                     Attorney for Kansas Secretary of State
